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 9
     Attorneys for Plaintiff COURTNEY SILVERMAN
10

11                                       UNITED STATES DISTRICT COURT
12                                    NORTHERN DISTRICT OF CALIFORNIA
13

14    COURTNEY SILVERMAN, individually and on )                   Case No.: 5:18-cv-05919-BLF
      behalf of all others similarly situated,  )
15                                              )                 JOINT STIPULATION TO MODIFY
                           Plaintiffs,          )                 BRIEFING SCHEDULES FOR
16                                              )                 DEFENDANT NATIONAL
              vs.                               )                 ASSOCIATION OF REALTORS
17                                              )                 MOTION TO DISMISS FOR LACK OF
      MOVE, INC., a California Corporation, and )                 PERSONAL JURISDICTION AND
18    NATIONAL ASSOCIATION OF REALTORS, )                         FAILURE TO STATE A CLAIM (DKT.
      an Illinois Corporation,                  )                 NO. 25) AND DEFENDANT MOVE,
19                                              )                 INC.’S MOTION TO COMPEL
                          Defendants.           )                 ARBITRATION AND TO DISMISS, OR
20                                              )                 IN THE ALTERNATIVE, TO STAY, THE
                                                )                 CASE (DKT. NO. 27)
21                                              )
                                                                  [PROPOSED] ORDER
22

23             WHEREAS, Plaintiff COURTNEY SILVERMAN (“Plaintiff”) filed her Class Action
24   Complaint (Dkt. No. 1) on September 26, 2018;
25             WHEREAS, Defendants MOVE, INC. (“Move”) and NATIONAL ASSOCIATION OF
26   REALTORS (“NAR”) (collectively “Defendants”) received service of summonses on or about
27   October 5, 2018 and October 10, 2018, respectively;
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                                                             1
       [1797867/1]
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                        STIPULATION                      1797867/1SCHEDULES RE DKT. NOS. 25 AND 27
                                                MODIFY BRIEFING                                      1
     DM1\9249692.1                                  [PROPOSED] ORDER
             Case 5:18-cv-05919-BLF Document 29 Filed 12/19/18 Page 2 of 5




 1             WHEREAS, the parties previously stipulated, pursuant to Civ. L.R. 6-1(a), to provide
 2   Defendants with an extension of time until November 26, 2018 and then again to December 10,
 3   2018, to answer or otherwise respond to the complaint (Dkt. Nos. 11 and 24);
 4             WHEREAS, pursuant to the extensions, on December 10, 2018, NAR filed its Motion to
 5   Dismiss for Lack of Personal Jurisdiction and Failure to State a Claim (Dkt. No. 25), and Move filed
 6   its Motion to Compel Arbitration and to Dismiss, or in the Alternative, to Stay, the Case (Dkt. No.
 7   27);
 8             WHEREAS, the deadline for Plaintiff respond to Defendants’ pending Motions is currently
 9   December 24, 2018, and the hearings are presently scheduled for May 23, 2019, at 9:00 a.m.;
10             WHEREAS, due to the length and distinct grounds of Defendants’ pending Motions,
11   Plaintiff’s counsel inclusion on three (3) January trial dockets, the upcoming holiday season, and the
12   extensive time until the hearing date, Plaintiff requests and Plaintiff and Defendants stipulate,
13   pursuant to Civil L.R. 6-2 and the Court’s Standing Order Re Civil Cases, and subject to the Court’s
14   approval, to (a) extend the time for Plaintiff to respond to Defendants’ Motions by thirty-five (35)
15   days, up to and including, January 28, 2019, and (b) extend the time for Defendants to file their reply
16   papers by seven (7) days, up to and including February 11, 2019;
17             WHEREAS, the Parties’ stipulation would impact the case deadlines as follows:
18
               Deadline                            Current Date              Requested Date
19
               Plaintiff’s Responses               December 24, 2018         January 23, 2019
20             Defendants’ Motions
21

22
               Defendants’ Replies                 December 31, 2018         February 11, 2019
23

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25
               Hearings on Motions                 May 23, 2019, 9:00 a.m.   No Change
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                        STIPULATION                      1797867/1SCHEDULES RE DKT. NOS. 25 AND 27
                                                MODIFY BRIEFING                                         2
     DM1\9249692.1                                  [PROPOSED] ORDER
              Case 5:18-cv-05919-BLF Document 29 Filed 12/19/18 Page 3 of 5




 1             WHEREAS, this stipulation is not made for any improper purpose and will not prejudice any
 2   party;
 3             WHEREAS, this stipulation is not intended to operate as an admission of any factual
 4   allegation or legal conclusion and is submitted subject to and without waiver of any rights, defenses,
 5   affirmative defenses, or objections, including personal jurisdiction, insufficient process, or
 6   insufficient service of process; and
 7             WHEREAS, the requested modifications will not otherwise impact the schedule for the case;
 8                                                        STIPULATION
 9             NOW, THEREFORE, Plaintiff and Defendants stipulate and agree as follows:
10             1.     Pursuant to Civil L.R. 6-2 and the Court’s Standing Order Re Civil Cases, and subject
11   to the Court’s approval, to (a) extend the time for Plaintiff to respond to Defendants’ Motions by
12   thirty-five (35) days, up to and including, January 28, 2019, and (b) extend the time for Defendants
13   to file their reply papers by seven (7) days, up to and including February 11, 2019;
14             2.     That, by entering this Stipulation, the Parties do not admit any factual allegation or
15   legal conclusion and do not waive any rights, defenses, affirmative defenses, or objections, including
16   personal jurisdiction, insufficient process, or insufficient service of process.
17
     DATED: December 19, 2018
18

19                                                FLAHERTY HENNESSY, LLP

20                                                By: /s/Sarah L. Hennessy
                                                      Sarah L. Hennessy
21
                                                      Attorneys for Plaintiff
22                                                    COURTNEY SILVERMAN

23   DATED: December 19, 2018                     ZEBERSKY PAYNE SHAW LEWENZ, LLP
24                                                By: /s/Jordan A. Shaw**
                                                     Jordan A. Shaw
25
                                                     Attorneys for Plaintiff
26                                                   COURTNEY SILVERMAN

27                                                    **Pursuant to Civ. L.R. 5-1(i)(3), the electronic signatory
                                                      has obtained approval from all other signatories
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                                                             3
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                        STIPULATION                      1797867/1SCHEDULES RE DKT. NOS. 25 AND 27
                                                MODIFY BRIEFING                                                3
     DM1\9249692.1                                  [PROPOSED] ORDER
             Case 5:18-cv-05919-BLF Document 29 Filed 12/19/18 Page 4 of 5




     DATED: December 19, 2018                     DUANE MORRIS, LLP
 1
                                                  By: /s/Michael L. Fox
 2                                                   Michael L. Fox
                                                     Attorney for Defendants MOVE, INC. and
 3                                                   NATIONAL ASSOCIATION OF REALTORS

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                        STIPULATION                      1797867/1SCHEDULES RE DKT. NOS. 25 AND 27
                                                MODIFY BRIEFING                                      4
     DM1\9249692.1                                  [PROPOSED] ORDER
             Case 5:18-cv-05919-BLF Document 29 Filed 12/19/18 Page 5 of 5




                                                   [PROPOSED] ORDER
 1

 2   PURSUANT TO STIPULATION, IT IS SO ORDERED:

 3             1.     The time for Plaintiff to respond to Defendant National Association of Realtors’

 4   Motion to Dismiss for Lack of Personal Jurisdiction and Failure to State a Claim (Dkt. No. 25), and
 5
     Defendant Move, Inc.’s Motion to Compel Arbitration and to Dismiss, or in the Alternative, to Stay,
 6
     the Case (Dkt. No. 27) is extended by thirty-five (35) days, up to and including, January 28, 2019;
 7
     and the time for Defendants to file their reply papers shall be extended by seven (7) days, up to and
 8
     including February 11, 2019.
 9

10             2.     By entering their Stipulation, the Parties have not admitted any factual allegation or

11   legal conclusion and have not waived any rights, defenses, affirmative defenses, or objections,
12   including personal jurisdiction, insufficient process, or insufficient service of process.
13
     DATED: December ______, 2018.
14
                                                               _________________________________
15                                                             The Honorable Beth Labson Freeman
                                                                United States District Court Judge
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                        STIPULATION                      1797867/1SCHEDULES RE DKT. NOS. 25 AND 27
                                                MODIFY BRIEFING                                          5
     DM1\9249692.1                                  [PROPOSED] ORDER
